           Case 4:22-cv-00561-RCC Document 57 Filed 11/15/23 Page 1 of 2




Arthur L. Aidala, Esq.
LAW OFFICES OF AIDALA, BERTUNA & KAMINS, P.C.
546 Fifth Avenue, 6th Floor, New York, NY 10036
(212) 486-0011 * Fax - (917) 261-4832
aidalaesq@aidalalaw.com
Attorney Appearing Pro Hac Vice
Counsel for Plaintiff


                                    UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF ARIZONA
------------------------------------------------------x
Keith Raniere,

                                     Plaintiff,
                         -v-
                                                          Case No. 4:22-cv-00561-RCC
Merrick Garland, et. al.,

                                      Defendants.
------------------------------------------------------x

                     MOTION TO REQUEST EXTENSION OF DEADLINE
                             TO FILE RESPONSE IN OPPOSITION TO
                    DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT


       1. Plaintiff Keith Raniere, through his undersigned counsel, hereby moves to request the

Court for an order granting a reasonable extension of the deadline to submit a Response in

Opposition to Defendants’ Motion for Summary Judgment related to the above-captioned case,

which is currently due on November 16, 2023, to December 18, 2023 or any date thereafter that

the Court deems acceptable.

       2. Mr. Raniere’s incarceration poses logistical challenges to enable him to easily

participate with our office in the drafting of his response. To that end, although we have

attempted to contact Mr. Raniere to discuss a draft of our Response, we continue to find it very

difficult to reach and communicate with our client, and, as such, we have not yet had an
           Case 4:22-cv-00561-RCC Document 57 Filed 11/15/23 Page 2 of 2




opportunity to discuss its contents in its entirety with him. We feel it is imperative to do so

before filing. As such, we are requesting an additional adjournment to file our Response.

        3. This extension is sought to afford additional time for the undersigned counsel to

engage in consultation with Plaintiff regarding the filing of his Response. Although this is the

fourth request by the undersigned counsel on behalf of Plaintiff for an extension to file a

Response in Opposition to Defendants’ Motion for Summary Judgment, we feel it necessary

considering his current circumstances and the difficulties they pose to facilitating attorney-client

communication.

        4. We were informed that Mr. Raniere has been placed in involuntary protective custody

and we have not been able to get access to him since November 1, 2023. Additionally, prior to

November 1st and since the last extension, we were not provided with sufficient access to Mr.

Raniere. We therefore, have not had adequate access nor time to discuss the case with him.

Therefore, the undersigned counsel respectfully requests the Court for a reasonable extension to

file the Response.

        5. Based on the foregoing, Plaintiff respectfully requests the date to file his Response in

Opposition to Defendants’ Motion for Summary Judgment be extended to December 18, 2023,

or any date thereafter that the Court deems convenient.



Date:    November 15, 2023

                                                             Respectfully submitted,


                                                                    /s/ Arthur L. Aidala
                                                             Arthur L. Aidala, Esq.
                                                             Attorney for Plaintiff
Delivered via ECF
to all Registered Parties
